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Ken Vaughan/R1I0/USDAFS To Eric Ouderkirk/R10/USDAFS @ FSNOTES
12/19/2003 03:27 PM cc Peter M Griffin/RIOMUSDAFS @FSNOTES
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Subject Juneau Access

Welcome to the Juneau Access team!!!
Ranger Pete and | share the team lead. | have the designation for the Region and Pate for the Tongass.

This i is a narrow decision space for the Forest Service concerning the appropriation of land for rights of
way for a highway. (See 23 USC 317).

We can and should be asking for enhancements along the route that will meet the needs of the Forest
Service and our visitors. We may also need some protections for resources also. - Great opportunity for
_ some short term and longer term master planning for recreation.

Thanks for helping!

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